                           UNIT91): STATES. DISTRICT COURT
                       FQR.TRIC;MIDDLE DISTRICT OF TUNNESSEE
                                 NASHVILLE..DIVISION

 UNITID STATES O.F:AI E . ICA

        V.                                              No, 3:22-CR=0.002,4:
                                                        JUDGE'WILLIAM.L. CAMPOELL, JR..
 ME'LISSA ANN GOODWIN                           j

                         PETITION TO kNTE,A.A ILEA OF GI7ILTY

        I,:Nleliss.a Ann (3uodwin,=ro4.pectfully. represent to the Courf°as:follows;

         Q-)                                                                                     and.1
 4rn 55 years old:arid-cump]eted T3 years offormal-education.

        (2) My retained:l.awyer;s'Worrick:lZobinson, Ill.

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My`lawyerhas,epiained each eiezaYent•of'the czime;ciiargcd to tiic'antt whutthe"goverrimeitt
wonld:affer toprove these elements. beyond:a reasonable doubt.

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;amandatory`$10.0 special assessment, nd; a term. of supm.ised release of not more-than 3 years
4n, addition to such terzn.".o risonznent.

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 afthdGuidelines ii7i my case: My lawyoiti.1 giv..enme°aaestim;ito;of'the.Guidelines:range tl at.
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 any victim; of tlie:offense [If I ain•.cotivi: cd of azty-offense speeified liri 1$: U`:S.C: §` 3.663A(o), or
-,as otherwise required by ia~v,;restitution is niaridatory~~ I have a right to a: review:of illy seiitcnee.
 by the United: tales Court of Appeals<for the:Sixth Circuit unless .waived "in •the plea agrequie.nt.

          (7)::I understand:that; under IS Vt.&C.                       not eligible, for a sentence of
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 release.:atid l'violate';dire'teriiis..ofthat:sUperuised'role'ase, upon revocation, I aauld'be imprisoned
 again.

           (8) I'understand_tliat.sliciuld:this plea-;ofguilty be accepted;.Iwill'bo:a convicted*felonin
 the eyes a thelaw for the rest ofqtly life. Thlsmeans, under present:law tliat.(n.),T.caniiot'vote-'in
 Tennessee,:.unless X)xy riglit to vote is:lawfully restored; and itiay:::not:'be:eligible to vote in other
 gate's;'.I(b). I epnot ppssess:,a firearm atiywhere~:(c) If:l.ani presently on:probation, parole,;.or
•silpeivised-;release whether state;or.federal, the:fact that,1have been convicte&may be used to-
xovoke my,probation,`parole=_or supervised. release; regardless of -what senterice.I rel.eive oa this
 ease; {d} If I. am convicted ofany<cri' in the'future, tvliether state oc`federal, this.conviction
 may,1io. used:ta>increase-that. sentence; (e)'I may have.to disclose the!'fiiot that I am a convicted
 felon when applyin6.for .employment and suuh.;disclosure inay result n, my not;getflog-some jobs
andliavin Aiffcult `hi-gettii g others,:. [9• have;been convicted of certain- ug offenses,.my
cotivtct%il niay result n;nly losing;entitlement::to eertain.federal benefits pursuant:to the:
AntiDru#-Abuse Actof`l9S$;]I understand^that:this list may 'not include all ,oFtlie::adverse
consgtie11ee$ of.myconviction:in;this case.

          (9),Iunderstaid:thatican plead "NOT GUILTY" to.arty or all,offenses charged against
 me, and contialue to'plead "NOT.GUILT:Y'% and. that -if I; choo$o:to.plead iiot.guilty,,the
 Coast tution.guaratitees me (a) the right to- a speedy and' public trial}iy. jury; (b) tlla right: not:to:
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                                   lilt iivoiild arise Uy infAilure ta:do. sot:(c) the:rigl fo be-presumed




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innocentuntiI such ,,m,.if over; that`the;government proves my guilt.beyond a reasonable doubt
to: the satisfaction of a:;court snd jury', (d) the right to see aYid licar all the'xvitnesses and:to cross-
exmpine.:any Nwitiicss wlw iinay testify:against.ne; (e) the riglit to-:t so the power aiid.process of
thc:court`to compel 1- e production of any.evidence, including the. attendance of Miywitnesses in
my^favor;: and . testify in:tny own;behalf 'if i choose to do sa; {f) the right to have the:assistance
ofvounsel in my defense at all stages'of the proceedings; (g) if I am convicted: atsuch trial l have
the,rightto appeal-with a.lawyerto:assist nieand the appeal will not cost nwany money if l am
indigent:<I.understand thO.'if the Court accepts my plea that there will be no jury trial and. that I
will be convicted of tlio,count(s). to which I plead just as if.a jury found:me guilty ofthe
charges};:following.a:trial,. TIie.C.ourt-may-then iinpose:sentence upon are-        ,IV t r► the limits set
fokilianAny plea agreement statedin paragraph (13); subject.to:the iiiaximmn punishments set
forth in- paragraph -(S).

            (10) No officer'or agent:ot'any branch of'governmqat (federal, state of-local), nor any
 other person,-.has:guaranteed:inc what.soaleitce:l..willrecervc, Ifthere:are any agreements
 betweetx myself and`.tny:lawyof-and the:prosecution concerning!my plea.-they are fully, set'forth in
'paragraph (Q) below.:I ucid..erstand tIiat evearlvith aplea agreeltaent no person Gati bind:the jtidgo
 to..give any particular sentence:in my case. If the Judge:rejects`a:recommeridation `made.p&suant
 to..l3ule41fie}(1;)(B) :I::haveno,lgllt:to withdraw my. plea.:I uiicicrstaiid that if. the Judge= decides to
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 is: iiot a:promise;„or: a guarantee; but_onilya recommendation and is.nrSt`binding;on the. Bureau of
-Prisons which will::make the t`ina1: decision (after .I a1ii sentenced) about.wliere I will be
'incarcerated..

         (l:l).My lawyer hasdone.all the;investigntion:and:rescareh.n :tuffs. case tliatl Have asked
hint to dq, atid~has iev ewed wit 4io ilic.discovery material provided liythe.:0overnment.1-ani_.
satisfied'.-Nth. his`representation .at:tliis.point.

       (l2) Fully undeisiailding ii y::rights to. plead "NOT GUILTY" and fully :understanding the
consequence of-my plea,of.guilty.,I wish.to:plead "GUILTY" and. respectfully:requcst:the Court
to aPccptmiy plea as follows-

       (I3)`'I his*plea is a.result of.a:.plea agreement between -my lawyer: andlhesproseeution
under the praYisions.. Rule, l l .pfflie.l"ederal Itulos;of Criminal Procedure. The plea agreement
isasfollows:

                The patticularized.terilis anci`conditions'of the:plea agreement are aontai icdin.the
        attaeliod" l'fea:Agreemear prepared:b), Assistant United'.States Attorney Kathryn Bootli.




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       (14) I offer;iny'plea- of "GUILTY" freely and voluntarily and of my own accord;., also my
 lawyerbas explained to me, and l feel and-.belicwl understand this-petition:

         (1:5) I ain not ;under.-the influence ofcither;drugs- oiralcoliol.

       (lh) I.request the..Courtto enter now my pleri of "GUILTY" as set. forth fa paragraph (12)
ofthis petitiop, in'reliance. upon nay statements made in this.petition..

         (17) Recognizingj.hat.the Court ntayzreserve acceptance of tliis~plea pending'the:receipt
_ofthe pre~seiitence;report,. T_agree: that the pre-sentencereport:liray.be disclosed to t}ie United
 -S
 .tates.Attorciey,;iiy:cAunsel:a id.myself, p.rio. to;the scriteucing_heariilg. Signed bylne m open
-c.ourtunder the penalties ofperjury'iti=the prdsence of~my. lawyer, this the day of




                                                  Melissa Ann Goodwin
                                                  Defendant

                      ACKNOWIn EAGMENT Or GOVERNMENT ATTORNEY

        TlieImaxinium punishment, plea and. plea'agreement are accurately stated above.


                                                                  IC _hryn'B tk~
                                                                  Lawyer for Government

                                   cEiamiCATE_OF COUNSEL

       `fhe undersigned; as_lawycr. and.counselor fo:r Melissa Ann Goodwin, hereby:certifies as
follows;

          (1),f have read,and fuliyexplaiiied. to Melissa Ann 'Goodwin all the accusations against
her::iiit1lis case;.

        (2); To tbe; best:o1' my.- knowledge and belief each statement set forth in the foregoing
petition;is accurate-°.and true




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                Illy Qp1I110I1:,-tlle plea, of "GCJILTY"' .is vgiuntarily;-and understandingty made, and I
 recdn~naend to tlie:Court thatthe;plea:of'"GUILTY"°be acceptedia:id.eilteredag requested'in
 paragraph (12) of the- foregoing petition.

        -Signed by nae in open.courf in the.presencc of _.this _                 day of     20



                                                          Warrick Robinson, IV
                                                          Lawyer for the Defendant



                                               OR DE      R

         Good cause:appeaciiil.,,. therefore from the foregoiaig pe.tition;of thq.foregoing named
defendant and The cq#f  i:gatc ofhercounsel and -for all proqeeclings heretofore had In this case, it
is° GIZD WD that th .petiti n e granted:and .tl~c°defendant's_ plea: ot~ "GtJ~LT1"` be~accepted arid.
~Ontered as prayedlin.the.petitt on nt►'d:'ns:recoii~n~endcdAn °the:certificate of caubse'l.-Done `iii ripen
court this day o~ti1, 20 ?2..




                                                         WILLIAM L..C.ATOELL,JR.
                                                         UNITED STAT) S DISTRICT-JUDGE




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                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

UNITED STATES OF AMERICA                             )
                                                              No. 3:22-CR-00024
        V.                                          )
                                                              Judge Campbell
MELISSA ANN GOODWIN                                 )

                                       PLEA A      EMEI~T

        The United States of America, through Mark H. Wildasin, United States Attorney for the

Middle District of Tennessee, and Assistant United States Attorney Kathryn W. Booth, and

defendant, Melissa Ann Goodwin, through defendant's counsel, Worrick G. Robinson IV and

Lynne T. Ingram, pursuant to Rule I I(c)(1)(B) of the Federal Rules of Criminal Procedure, have

entered into an agreement, the terms and conditions of which are as follows:

                                       Charges in This Case

        1.     Defendant acknowledges that she has been charged in the information in this case

with wire fraud in violation of Title 18, United States Code Section 1343 and forfeiture as

described herein.

       2.      Defendant has read the charge against her contained in the information. That charge

has been fully explained to her by her attorney. Defendant fully understands the nature and

elements of the crime with which she has been charged.

                          Charge to Which Defendant is Pleading Guilty_

       3.      By this Plea Agreement, defendant agrees to enter a voluntary plea of guilty to

Count One the information, charging wire fraud. In addition, as further provided below, defendant

agrees to the entry of a forfeiture judgment.




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                                                Penalties

        4.         The parties understand and agree that the offense to which defendant will enter a

plea of guilty carries the following maximum penalties: 20 years' imprisonment, a fine of up to

$250,000, three years' supervised release, and a $100 special assessment. Defendant further

understands that the Court must order restitution to the victims of the offense in an amount

determined by the Court. Defendant also understands that as a result of her offense[s], she is subject

to forfeiture of property as alleged in the information.

                      Acknowledgements and Waivers Regarding Plea of Guilty
                                  Nature of Plea Agreement

        5.      This Plea Agreement is entirely voluntary and represents the entire agreement

between the United States Attorney and defendant regarding defendant's criminal liability in case

3 :22-CR-00024.

        6.      Defendant understands that by pleading guilty she surrenders certain trial rights,

including the following:

               a.        If defendant persisted in a plea of not guilty to the charge against her, she

would have the right to a public and speedy trial. Defendant has a right to a jury trial, and the trial

would be by a judge rather than a jury only if defendant, the government, and the Court all agreed

to have no jury.

               b.        If the trial were a jury trial, the jury would be composed of twelve

laypersons selected at random. Defendant and her attorney would have a say in who the jurors

would be by removing prospective jurors for cause, or without cause by exercising so-called

peremptory challenges. The jury would have to agree unanimously before it could return a verdict

of either guilty or not guilty. The jury would be instructed that defendant is presumed innocent;

that the government bears the burden of proving defendant guilty of the charges beyond a

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reasonable doubt; and that it must consider each count of the information against defendant

separately.

                c.      If the trial were held by the judge without a jury, the judge would find the

facts and determine, after hearing all the evidence, whether or not the judge was persuaded of

defendant's guilt beyond a reasonable doubt.

                d.      At a trial, whether by a jury or a judge, the government would be required

to present its witnesses and other evidence against defendant. Defendant would be able to confront

those government witnesses and her attorney would be able to .cross-examine them. In turn,

defendant could present witnesses and other evidence on her own behalf. If the witnesses for

defendant would not appear voluntarily, she could require their attendance through the subpoena

power of the Court.

                e.     At a trial, defendant would have a privilege against self-incrimination so

that she could testify or decline to testify, and no inference of guilt could be drawn from her refusal

to testify.

        7.     Defendant understands that by pleading guilty she is waiving all of the trial rights

set forth in the prior paragraph. Defendant's attorney has explained those rights to her, and the

consequences of her waiver of those rights.

                                            Factual Basis

        8.     Defendant will plead guilty because she is in fact guilty of the charge contained in

the information. In pleading guilty, defendant admits the following facts and that those facts

establish her guilt beyond a reasonable doubt:

        The T.J. Martell Foundation for Cancer Research ("the Foundation") was the music

industry's leading foundation that fiends innovative medical research focused on finding treatments



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and cures for cancer. The Foundation raises money for cancer research by soliciting in-kind

donations from celebrities and then auctioning off those donations for a profit.

           The Defendant was an employee of the Foundation from 2005 until July 2020. The

Defendant was employed in various capacities. Beginning in approximately June 2011, the

Defendant managed and oversaw the financial operations of the entire Foundation and reported

directly to the CEO. From 2018 until July 2020, she was the Executive Vice President and General

Manager. The Defendant's duties included: working with staff to organize and execute Foundation

events; maintaining the Foundation's national budget; procuring various insurance policies for the

Foundation; being the point-person with the Foundation's accounting firm; handling payroll; and

establishing and procuring contracts for the Foundation.

        In its fundraising efforts, the Foundation primarily relied on donated items, but

occasionally auctioned items on a consignment basis. When the Foundation auctioned items on

consignment, the Foundation borrowed the consignment items from a consignment vendor and put

those items up at auction. Once the Foundation received an invoice, it paid the vendor the

consignment price for any items that were sold at auction.

       Individual One, an individual known to the Acting United States Attorney, was the founder

and owner of a charity auction business based in New York City ("Business X'). Business A, a

business known to the Acting United States Attorney, conducted auctions for clients and offered

consignment items, such as event tickets or sports memorabilia, to clients for use in their auctions.

On occasion, the Foundation used the services of Business A to provide consignment items at

auction.

       The Foundation hired Accounting Firm One, an accounting firm known to the Acting

United States Attorney, to issue checks for the Foundation, to record Foundation credit card



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 expenses in QuickBooks (an accounting software program), and to create periodic financial reports

for the Foundation. The Defendant was the primary point of contact between Accounting Firm

 One and the Foundation, and it was her job to provide Accounting Firm One with the Foundation's

credit card statements and expense reports so that Accounting Firm One could prepare the financial

reports. Further, it was the Defendant's responsibility to provide the financial reports prepared by

Accounting Firm One to the Foundation's CEO.

        Beginning in or about July 2018, and continuing until in or about June 2020, in the Middle

District of Tennessee and elsewhere, the Defendant devised and intended to devise a scheme and

artifice to defraud the T.J. Martell Foundation, and others, and to obtain money and property by

means of materially false pretenses, representations, and promises, and by acts of concealment of

the scheme, and in furtherance thereof, used interstate wires, which scheme is further described in

the following paragraphs.

       While the Defendant was employed at the Foundation, it had an active JPMorgan Chase

corporate credit card account ending in account number x0241. Sometime before July 2018, the

Defendant obtained a Foundation credit card in her own name, credit card account ending in x1527,

which was a sub-account of the Foundation credit card account ending in x0241.

       Beginning in at least approximately July 2018, the Defendant began using the Foundation

credit card ending x1527 to make large ticket purchases through online ticket and event vendors

such as Ticketmaster, Stubhub, Primesport, and On-Location. Some of the tickets the Defendant

purchased were for musical concerts, such as Lady Gaga and Celine Dion, and some were to

sporting events, such as the Super Bowl LIV, which was a major sporting event that was scheduled

to take place in Miami, Florida, on February 2, 2020. The tickets that the Defendant purchased

were not for a legitimate Foundation purpose.




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         The Defendant also used the Foundation's credit card to purchase other items that were not

for legitimate Foundation purposes, such as expensive and rare alcohols, plane tickets, and hotel

stays.

         After the Defendant purchased the tickets at market resale value through online ticket and

event vendors such as Ticketmaster, Stubhub, Primesport, and On-Location, she provided those

tickets and some of the other items purchased with the Foundation's credit card to Individual One.

It was part of the scheme that the Defendant led Individual One to believe she had acquired those

tickets for free or at a discounted rate.

          Between July 2018 and April 2020, the Defendant purchased approximately $3.96 million

in tickets from Ticketmaster, Stubhub, Primesport, and On-Location using the Foundation's credit

card. Goodwin then used the Foundation bank accounts to make payments on the credit card.

         In order to conceal the purchases and checks she wrote, the Defendant provided falsified

credit card statements and false expense reports to Accounting Firm One. Before providing them

to Accounting Firm One, the Defendant altered the credit card statements to conceal purchases she

made from Ticketmaster, Stubhub, Primesport, and On-Location, as well as other expenses. She

often replaced those expenses with other vendors so that the charges appeared to be legitimate

Foundation expenses. In total, the Defendant concealed over $3 million in fraudulent credit card

expenses.

         Accounting Firm One prepared the Foundation's periodic financial statements based on

these falsified credit card statements and expense reports. Accounting Firm One then emailed

those financial statements to the Defendant, whose job it was to provide them to the Foundation's

CEO. After receiving the financial statements from Accounting Firm One, the Defendant falsified

those financial statements before providing them to the Foundation's CEO. The Defendant



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 falsified the financial statements by inflating the Foundation's assets and lowering its liabilities to

make the Foundation appear to be more liquid than it actually was at the time. For example, on the

August 31, 2019, periodic financial statement, the Defendant inflated the cash balance by

$500,000, and on the 2019 Year-End Financials, the Defendant inflated the cash balance by

$1,020,000. These falsifications prevented the Foundation from detecting the Defendant's

fraudulent transactions.

        The Defendant caused payments_ to be made to the Foundation's credit card from Business

A's bank account related to the tickets she purchased as part of the scheme.

        Further, the Defendant forged the signature of the Foundation's CEO on various

Foundation checks. The Defendant did not have authority to sign Foundation checks. The

Foundation had a policy that any check over $5,000 must be signed by at least two signatories—

the Foundation's CEO and the Foundation's in-house counsel. Despite this, the Defendant signed

the CEO's name on several checks that were not approved by the Foundation. The Defendant

forged the CEO's name on the following checks without authorization or approval:

                        Check                   Payable to                 Check
                     Date                                               Amount
                      05/23/2019                Business A                $12,500.00
                      02/06/2020                Business A               $122,211.00
                     02/13/2020                 Business A               $600,950.00
                     02/21/2020                 Business A                $34,530.00
                     03/11/2020                 Business A               $119,652.28
                     03/23/2020                 Business A                $76,432.50

        On or about the April 11, 2020, in the Middle District of Tennessee and elsewhere, the

Defendant, for the purpose of executing and attempting to execute the scheme to defraud, caused

to be transmitted by means of wire communications in interstate commerce an email dated April

11, 2020, to S.S., an employee at Accounting Firm One, which contained falsified credit card

statements that omitted payments to the credit card from Business A's bank account and falsified


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and concealed other fiaudulent expenses the Defendant had incurred on the Foundation's credit

card, in violation of Title 18, United States Code, Section 1343.

        This statement of facts is provided to assist the Court in determining whether a factual basis

exists for defendant's plea of guilty and criminal forfeiture. The statement of facts does not contain

each and every fact known to defendant and to the United States concerning defendant's and/or

others' involvement in the offense conduct and other matters.

                                Sentencing Guidelines Calculations

       9.      The parties understand that the Court will take account of the United States

Sentencing Guidelines (hereinafter "U.S.S.G."), together with the other sentencing factors set forth

at 18 U.S.C. § 3553(a), and will consider the U.S.S.G. advisory sentencing range in imposing

defendant's sentence. The parties agree that the U.S.S.G. to be considered in this case are those

effective November 1, 2018.

       10.     For purposes of determining the U.S.S.G. advisory sentencing range, the United

States and defendant to recommend to the Court, pursuant to Rule 11(c)(1)(B), the following:

               a.      Offense Level Calculations.

                     i.       The base offense level for the counts of conviction and relevant

               conduct is seven (7), pursuant to U.S.S.G. § 2B1.1(a)(1).

                    ii.       The base offense level should be increased by eighteen (18) levels

               pursuant to U.S.S.G. § 2B1.1(b)(1)(J) because the loss is greater than $3.5 million

               but less than $9.5 million.

                    iii.      The base offense level should be increased by two (2) levels

              pursuant to U.S.S.G. § 2BL1(b)(2)(A) because the offense resulted in substantial

              financial hardship to one or more victims.



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                 iv.         The parties agree to disagree about whether the base offense level

           should be increased by two (2) levels pursuant to U.S.S.G. § 2B1.1(b)(10)(C)

           because the offense involved sophisticated means. The Government contends this

           enhancement applies; the defendant contends it should not.

                 V.          The base offense level should be increased by two (2) levels

           pursuant to U.S.S.G. § 3BL3 because the offense involved an abuse of trust.

                vi.          Assuming - defendant     clearly    demonstrates     acceptance     of

           responsibility, to the satisfaction of the government, through her allocution and

           subsequent conduct prior to the imposition of sentence, a 2-level reduction will be

           warranted, pursuant to U.S.S.G. § 3EL1(a). Furthermore, assuming defendant

           accepts responsibility as described in the previous sentence, the United States will

           move for an additional one-level reduction pursuant to U.S.S.G § 3E1.l(b), because

           defendant will have given timely notice of her intention to enter a plea of guilty,

           thereby permitting the government to avoid preparing for trial and permitting the

           government and the Court to allocate their resources efficiently.

           b.         Criminal History Category. The parties do not have any agreement about

   the defendant's relevant criminal history, but anticipate that the defendant will be in Criminal
                  i
   History Category I.

           C.         Recommended Offense Level. Therefore, the parties agree to recommend

   to the Court a final offense level of 28 (if the offense involves Sophisticated Means) or 26

   (if it does not) (the "Recommended Offense Level"). Defendant understands that the

   offense level as ultimately determined by the Court (the "court-determined offense level")

   may be different from the Recommended Offense Level. Defendant likewise understands



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        that the guidelines range as ultimately determined by the Court (the "court-determined

        guidelines range") may be based on an offense level different from the Recommended

        Offense Level.

                d.       Defendant is aware that the Recommended Offense Level is a prediction,

        not a promise, and is not binding on the Probation Office or the Court. Defendant

        understands that the Probation Office will conduct its own investigation and make its own

        recommendations, that the Court ultimately determines the facts and law relevant to

        sentencing, that the Court's determinations govern the final guidelines calculations, and

        that the Court determines both the final offense level and the final guidelines range.

        Accordingly, the validity of this agreement is not contingent upon the Probation Officer's

        or the Court's concurrence with the above calculations. In the event that the Probation

        Office or the Court contemplates any U.S.S.G. adjustments, departures, or calculations

        different from those recommended above, the parties reserve the right to answer any

        inquiries and to make all appropriate arguments concerning the same. Defendant further

        acknowledges that if the Court does not accept the U.S.S.G. recommendations of the

        parties, defendant will have no right to withdraw his guilty plea.

                               Agreements Relating to Sentencing

       11.     Each party is free to recommend whatever sentence it deems appropriate.

       12.     It is understood by the parties that the Court is neither a party to nor bound by this

Plea Agreement and, after consideration of the U.S.S.G., may impose the maximum penalties as

set forth above. Defendant further acknowledges that if the Court does not accept the sentencing

recommendation of the parties, defendant will have no right to withdraw her guilty plea. Similarly,




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defendant understands that any recommendation by the Court related to location of imprisonment

is not binding on the Bureau of Prisons.

        13.     Regarding restitution, the parties acknowledge that the amount of restitution owed

to victim is $3,765,606.77, and that pursuant to Title 18, United States Code, Section 3663A, the

Court must order defendant to make restitution in this amount, minus any credit for funds repaid

prior to sentencing. Unless the Court orders otherwise, restitution shall be due immediately.

        14.    Defendant agrees to pay the special assessment of $100 at the time of sentencing

to the Clerk of the U.S. District Court.

                   Forfeiture in the Form of a $3,765,606.77 MoneyJudgin

        15.    The Information charges that Defendant is liable to the United States in the amount

of $3,765,606.77, as said amount represent the proceeds of the scheme and artifice to defraud as

charged in the Information. Said $3,765,606.77 is subject to forfeiture because these funds

constitute or are derived from proceeds traceable to a violation of Title 18, United States Code,

Section 1343 as charged in the Information. By entry of a guilty plea to the Information, Defendant

acknowledges that the property identified above is subject to forfeiture.

       16.     The Defendant agrees that the amount of proceeds of the offense of conviction as

alleged in the Information is $3,765,606.77. The Defendant has admitted that between July 2018,

and June 2020, she engaged in a wire fraud scheme to defraud TJ Martel, Individual One,

Accounting Firm One, and others, by making materially false statements in order to obtain money

or property. Defendant made fraudulent and unauthorized purchases on the Foundation credit card

in the amount of approximately $3.9 million, e-mailed falsified credit card statements to

Accounting Firm One, and e-mailed falsified periodic financial statements to the Foundation's

CEO. In addition, the defendant forged the CEO's signature on several checks. The defendant



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caused a total loss in the amount of approximately $3,765,606.77.

        17.      The Defendant agrees to the entry of an Order of Forfeiture consisting of a Money

Judgment in the amount of $3,765,606.77 United States currency as to Count One in that this

property is subject to forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461 as

monies which constitute or are derived from proceeds traceable to a violation of 18 U.S.C. § 1343.

        18.      The Defendant and the United States agree that every effort will be made to credit any

payment toward forfeiture against both the Order of Forfeiture and any restitution order via the

remission and restoration process. However, the parties acknowledge that the ultimate discretion lies

with the Money Laundering and Asset Recovery Section of the U.S. Department of Justice regarding

whether to grant or deny any request related to the remission or restoration process.

        19.      The Defendant will cooperate and assist the United States in its efforts to recover the

proceeds of the crime.

        20.      The Defendant understands that, with the exception of restitution as set forth

previously, forfeiture of this property shall not be treated as satisfaction of any fine, cost of

imprisonment, or any other penalty the Court may impose upon the Defendant in addition to the Order

of Forfeiture.

        21.      The Defendant acknowledges that, with the exception of the Subject Property

previously referenced in this Plea Agreement for forfeiture, as a result of her acts or omissions, the

proceeds of her crime of conviction which are subject to forfeiture:

                 a.      cannot be located upon exercise of due diligence;

                 b.      has been transferred or sold to, or deposited with, a third party;

                 c.      has been placed beyond the jurisdiction of the Court

                 d.      has been substantially diminished in value; or



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                 e.       has been commingled with other property, which cannot be divided
                          without difficulty

 and as a result, pursuant to 21 U.S.C. § 853(p), the United States is entitled to forfeiture of

substitute property up to the value of up to $3,765,606.77 United States currency as to Count One.

         22.     The Defendant further agrees to the forfeiture of substitute assets and entry of an

order allowing the United States to conduct any discovery proper in identifying, locating or

disposing-of-theTroperty-subjecttoforfeiture,— nchiding-depositions—interrogatories,—requestsfor

production of documents and the issuance of subpoenas, without further application to the Court

and to facilitate the identification and location of property declared forfeited, substitute assets, and

to facilitate the disposition of any petitions for remission, mitigation or restoration. The substitute

property recovered shall not exceed in total $3,765,606.77 United States currency as to Count One.

        23.      The Defendant further agrees to cooperate fully and to execute any supplementary

documents, including authorizing the United States to obtain Defendant's credit report, and to take any

additional actions that may be necessary or appropriate to effect this agreement as to forfeiture,

restitution, and substitute assets.

        24.      The Defendant further authorizes the United States Probation and Pretrial Services

Office (U.S.P.O.) to release the Presentence Investigative Report and all financial documents

pertaining to Defendant to the Asset Forfeiture Unit of the United States Attorney's Office ("AF Unit")

for the Middle District of Tennessee.

        25.     The Defendant further authorizes the Internal Revenue Service to Release Defendant's

tax returns for the years beginning 2018 through the pendency of the payment of the full amount of the

Order of Forfeiture.




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                 26.    The Defendant agrees to waive all appellate rights concerning the entry of an Order of

        Forfeiture consisting of a Money Judgment, the Preliminary Order of Forfeiture as to the Subject

        Property, and all matters related thereto.

                            Presentence Investigation Report/Post-Sentence Supervision

     `, pi       ?f6.   Defendant understands that the United States Attorney's Office, in its submission

        to the Probation Office as part of the Pre-Sentence Report and at sentencing, shall fully apprise the

        District Court and the United States Probation Office of the nature, scope, and extent of

        defendant's conduct regarding the charges against her, as well as any related matters. The

        government will make known all matters in aggravation and mitigation relevant to the issue of

        sentencing.

                        Defendant agrees to execute truthfully and completely a Financial Statement (with

        supporting documentation) prior to sentencing, to be provided to and shared among the Court, the

        United States Probation Office, and the United States Attorney's Office regarding all details of her

        financial circumstances, including her recent income tax returns as specified by the Probation

        Officer. Defendant understands that providing false or incomplete information, or refusing to

        provide this information, may be used as a basis for denial of a reduction for acceptance of

        responsibility pursuant to U.S.S.G. § 3E1.1 and enhancement of her sentence for obstruction of

        justice under U.S.S.G. § 3C1.1, and may be prosecuted as a violation of Title 18, United States

        Code, Section 1001, or as a contempt of the Court.

                        This Plea Agreement concerns criminal liability only. Except as expressly set forth

!1     in this Plea Agreement, nothing herein shall constitute a limitation, waiver, or release by the United

       States or any of its agencies of any administrative or judicial civil claim, demand, or cause of

       action it may have against defendant or any other person or entity. The obligations of this Plea



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        Agreement are limited to the United States Attorney's Office for the Middle District of Tennessee

        and cannot bind any other federal, state, or local prosecuting, administrative, or regulatory

        authorities, except as expressly set forth in this Plea Agreement.
.VVSA     30 A          Defendant understands that nothing in this Plea Agreement shall limit the Internal

        Revenue Service (IRS) in its collection of any taxes, interest, or penalties from defendant.

                                                 Entry of Gui ty Plea

xMA       4-k /4.       The parties jointly request that the Court accept the defendant's plea of guilty as set

        forth in this agreement and enter an order reflecting the acceptance of the plea while reserving

        acceptance of this plea agreement until receipt of the pre-sentence report and sentencing.

                                            Waiver of Appellate Rights

                       Regarding the issue of guilt, defendant hereby waives all (i) rights to appeal any

        issue bearing on the determination of whether she is guilty of the crime(s) to which she is agreeing

        to plead guilty; and (ii) trial rights that might have been available if she exercised her right to go

        to trial. Regarding sentencing, Defendant is aware that 18 U.S.C. § 3742 generally affords a

        defendant the right to appeal the sentence imposed. Acknowledging this, defendant knowingly

        waives the right to appeal any sentence within or below the guideline range associated with the

        Recommended Offense Level when combined with defendant's criminal history category as

        determined by the Court. Defendant further waives all appellate rights and all collateral attacks

        concerning forfeiture and all matters related thereto. Defendant also knowingly waives the right to

        challenge the sentence imposed in any motion pursuant to 18 U.S.C. § 3582(c)(2) and in any

        collateral attack, including, but not limited to, a motion brought pursuant to 28 U.S.C. § 2255

        and/or § 2241. However, no waiver of the right to appeal, or to challenge the adjudication of guilt

        or the sentence imposed in any collateral attack, shall apply to a claim of involuntariness,



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         prosecutorial misconduct, or ineffective assistance of counsel. Likewise, the government waives

         the right to appeal any sentence: (i) within or above the guideline range associated with the

         Recommended Offense Level when combined with defendant's criminal history category.

    ~N                                                Other Terms
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                  6.     Defendant agrees to cooperate with the United States Attorney's Office in
~
         collecting any unpaid fine and restitution for which defendant is liable, including providing

         financial statements and supporting records as requested by the United States Attorney's Office.

         Defendant further agrees that any monetary penalties imposed by the Court will be subject to

         immediate enforcement as provided for in 18 U.S.C. § 3613, and submitted to the Treasury Offset

         Programs so that any federal payment or transfer of returned property the defendant receives may

         be offset and applied to federal debts but will not affect the periodic payment schedule.


4vvt~ 31~ X.             Defendant agrees to cooperate with the IRS in any tax examination or audit of
    t
         defendant that directly or indirectly relates to or arises out of the course of conduct defendant has

         acknowledged in this Plea Agreement, by transmitting to the IRS original records or copies thereof,

         and any additional books and records that the IRS may request. Nothing in this paragraph precludes

         defendant from asserting any legal or factual defense to taxes, interest, and penalties that may be

         assessed by the IRS.

Vw0        ;6 X          Defendant understands that pursuant to Title 12, United States Code, Section 1829,

         her conviction in this case will prohibit her from directly or indirectly participating in the affairs

         of any financial institution insured by the Federal Deposit Insurance Corporation (FDIC) except

        with the prior written consent of the FDIC and, during the ten years following her conviction, the

        additional approval of this Court. Defendant further understands that if she violates this




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            prohibition, she may be punished by imprisonment for up to five years and a fine of up to

           $1,000,000.

                 ~/9.      Should defendant engage in additional criminal activity after she has pled guilty

           but prior to sentencing, defendant shall be considered to have breached this Plea Agreement, and

           the government at its option may void this Plea Agreement.

                                                        Conclusion

      ~i             ~0.   Defendant understands that the information and this Plea Agreement have been or

           will be filed with the Court, will become matters of public record, and may be disclosed to any

           person.

 ,, 0 *3Y A             Defendant understands that her compliance with each part of this Plea Agreement
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  yt' - extends until such time as she is sentenced, and failure to abide by any term of the Plea Agreement

           is a violation of the Plea Agreement. Defendant further understands that in the event she violates

           this Plea Agreement, the government, at its option, may move to vacate the Plea Agreement,

           rendering it null and void, and thereafter prosecute defendant not subject to any of the limits set

           forth in this Plea Agreement, or may require defendant's specific performance of this Plea

           Agreement.

            5A     39.
                           Defendant and her attorney acknowledge that no threats have been made to cause

           defendant to plead guilty.

                           No promises, agreements, or conditions have been entered into other than those set
-O
     bhorth in/this Plea Agreement, and none will be entered into unless memorialized in writing and

           signed by all of the parties listed below.




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       tN%
     L//   Defendant's Signature: I hereby agree that I have consulted with my attorney and

fully understand all rights with respect to the pending information. Further, I fully understand all

rights with respect to the provisions of the Sentencing Guidelines that may apply in my case. I

have read this Plea Agreement and carefully reviewed every part of it with my attorney. I

understand this Plea Agreement, and I voluntarily agree to it.



       Date:~      64
                                      Melissa Ann Goodwin
                                      Defendant




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     LA ?-,-
               Defense Counsel Signature: I am counsel for defendant in this case. I have fully
       '16-
explained to defendant her rights with respect to the pending information. Further, I have reviewed

the provisions of the Sentencing Guidelines and Policy Statements, and I have fully explained to

defendant the provisions of those guidelines that may apply in this case. I have reviewed carefully

every part of this Plea Agreement with defendant. To my knowledge, defendant's decision to enter

intothis PleaAgreementis aninformedand voluntaryonu                             — ---


       Date.
                                     Worrick G. Robinson, IN
                                     Lynne T. Ingram
                                     Attorneys for Defendant


                                                    Respectfully submitted,

                                                    MARK H. WILDASIN
                                                    United States Attorney


                                                    By:
                                                    Kathry W. Booth
                                                    Assistant U.S. Attorney


                                                                    LO
                                                    Stephanie N. Toussaint
                                                    Deputy Criminal Chief




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